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                                  Nebraska Supreme Court A dvance Sheets
                                          299 Nebraska R eports
                                                 STATE v. HAYNES
                                                 Cite as 299 Neb. 249



                                        State of Nebraska, appellee, v.
                                        Dammon T. H aynes, appellant.
                                                   ___ N.W.2d ___

                                         Filed March 9, 2018.    No. S-17-031.

                1.	 Postconviction: Judgments: Appeal and Error. Whether a claim
                    raised in a postconviction proceeding is procedurally barred is a ques-
                    tion of law which is reviewed independently of the lower court’s ruling.
                2.	 Postconviction: Constitutional Law. A trial court’s ruling that the
                    petitioner’s allegations are refuted by the record or are too conclusory
                    to demonstrate a violation of the petitioner’s constitutional rights is not
                    a finding of fact—it is a determination, as a matter of law, that the peti-
                    tioner has failed to state a claim for postconviction relief.
                3.	 Postconviction: Constitutional Law: Appeal and Error. In appeals
                    from postconviction proceedings, an appellate court reviews de novo
                    a determination that the defendant failed to allege sufficient facts to
                    demonstrate a violation of his or her constitutional rights or that the
                    record and files affirmatively show that the defendant is entitled to
                    no relief.
                4.	 Postconviction: Right to Counsel: Appeal and Error. The failure of
                    the district court to provide court-appointed counsel in a postconviction
                    proceeding is reviewed for an abuse of discretion.
                5.	 Postconviction: Constitutional Law. Postconviction relief is a very
                    narrow category of relief, available only to remedy prejudicial constitu-
                    tional violations that render the judgment void or voidable.
                6.	 Postconviction: Sentences: Appeal and Error. The Nebraska
                    Postconviction Act is intended to provide relief in those cases where
                    a miscarriage of justice may have occurred; it is not intended to be a
                    procedure to secure a routine review for any defendant dissatisfied with
                    his or her sentence.
                7.	 Postconviction: Pleas: Waiver. The Nebraska Postconviction Act does
                    not provide a procedure whereby the defendant can avoid the waiver
                    inherent to a voluntary entry of a guilty plea or plea of no contest.
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             Nebraska Supreme Court A dvance Sheets
                     299 Nebraska R eports
                              STATE v. HAYNES
                              Cite as 299 Neb. 249
 8.	 Pleas: Waiver: Indictments and Informations: Effectiveness of
     Counsel: Jurisdiction. The voluntary entry of a guilty plea or a plea
     of no contest waives every defense to a charge, whether the defense is
     procedural, statutory, or constitutional. The only exceptions are for the
     defenses of insufficiency of the indictment, information, or complaint;
     ineffective assistance of counsel; and lack of jurisdiction.
 9.	 Postconviction: Appeal and Error. On appeal from the denial of
     postconviction relief without an evidentiary hearing, the question is not
     whether the movant was entitled to relief by having made the requisite
     showing. Instead, it must be determined whether the allegations were
     sufficient to grant an evidentiary hearing.
10.	 Postconviction. The allegations in a motion for postconviction relief
     must be sufficiently specific for the district court to make a preliminary
     determination as to whether an evidentiary hearing is justified.
11.	 Postconviction: Pleadings: Proof: Constitutional Law. In a proceed-
     ing under the Nebraska Postconviction Act, the application is required
     to allege facts which, if proved, constitute a violation or infringement
     of constitutional rights, and the pleading of mere conclusions of fact
     or of law are not sufficient to require the court to grant an eviden-
     tiary hearing.
12.	 Postconviction: Proof: Constitutional Law. An evidentiary hearing
     must be granted when the facts alleged, if proved, would justify relief,
     or when a factual dispute arises as to whether a constitutional right is
     being denied.
13.	 Appeal and Error. An appellate court will not consider an issue on
     appeal that was not presented to or passed upon by the trial court.
14.	 Postconviction: Effectiveness of Counsel: Proof. In order to establish
     a right to postconviction relief based on a claim of ineffective assistance
     of counsel, the defendant has the burden first to show that counsel’s per-
     formance was deficient; that is, counsel’s performance did not equal that
     of a lawyer with ordinary training and skill in criminal law in the area.
     Next, the defendant must show that counsel’s deficient performance
     prejudiced the defense in his or her case.
15.	 Effectiveness of Counsel: Pleas. In a plea context, deficiency depends
     on whether counsel’s advice was within the range of competence
     demanded of attorneys in criminal cases.
16.	 ____: ____. The prejudice requirement in a plea context is satisfied if
     the defendant shows a reasonable probability that but for the errors of
     counsel, the defendant would have insisted on going to trial rather than
     pleading guilty.
17.	 ____: ____. In determining the prejudice component of alleged inef-
     fective assistance of counsel in a plea context, the likelihood of the
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                Nebraska Supreme Court A dvance Sheets
                        299 Nebraska R eports
                                 STATE v. HAYNES
                                 Cite as 299 Neb. 249
       defense’s success had the defendant gone to trial should be considered
       along with other factors, such as the likely penalties the defendant
       would have faced if convicted at trial, the relative benefit of the plea
       bargain, and the strength of the State’s case.
18.	   Postconviction: Effectiveness of Counsel. In a motion for postconvic-
       tion relief, self-serving declarations that fail to allege specific facts that
       will be presented in an evidentiary hearing will not be sufficient on their
       own to raise a question of prejudice in an allegation of ineffective assist­
       ance of counsel.
19.	   Postconviction: Pleas: Effectiveness of Counsel. A motion for post-
       conviction relief seeking to set aside a conviction pursuant to a plea on
       the grounds that it was the result of ineffective assistance of counsel
       must allege objective facts that raise a question of whether a rational
       defendant would have insisted on going to trial.
20.	   Postconviction: Appeal and Error. When considering whether the dis-
       trict court correctly denied a motion for postconviction relief without an
       evidentiary hearing, an appellate court will not consider factual allega-
       tions made for the first time on appeal.
21.	   Trial: Pleas: Mental Competency. A person is competent to plead or
       stand trial if he or she has the capacity to understand the nature and
       object of the proceedings against him or her, to comprehend his or her
       own condition in reference to such proceedings, and to make a ratio-
       nal defense.
22.	   ____: ____: ____. The test of mental capacity to plead is the same as
       that required to stand trial.
23.	   Postconviction: Witnesses. A significant degree of specificity is
       required in postconviction motions for claims relating to potential
       witnesses.
24.	   Right to Counsel: Effectiveness of Counsel. A defendant represent-
       ing himself or herself pro se cannot thereafter assert his or her own
       incompetency.
25.	   Postconviction: Appeal and Error. Plain error cannot be asserted in a
       postconviction proceeding to raise claims of error by the trial court.
26.	   Effectiveness of Counsel: Appeal and Error. Counsel’s failure to raise
       an issue on appeal could be ineffective assistance only if there is a rea-
       sonable probability that inclusion of the issue would have changed the
       result of the appeal.

  Appeal from the District Court for Douglas County: Shelly
R. Stratman, Judge. Affirmed.
   Dammon T. Haynes, pro se.
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           Nebraska Supreme Court A dvance Sheets
                   299 Nebraska R eports
                        STATE v. HAYNES
                        Cite as 299 Neb. 249
   Douglas J. Peterson, Attorney General, and Sarah E. Marfisi
for appellee.
  Heavican, C.J., Cassel, Stacy, and Funke, JJ.
  Heavican, C.J.
                      I. NATURE OF CASE
   This is an appeal from the denial of postconviction relief
without an evidentiary hearing or the appointment of counsel.
The petitioner makes numerous arguments that his trial coun-
sel, who also represented him on direct appeal, were ineffec-
tive. Petitioner also argues that he was sentenced to nonexistent
crimes of being a habitual criminal, which he asserts resulted
in void sentences. We affirm the judgment below.
                      II. BACKGROUND
                           1. Charges
   Dammon T. Haynes was charged with three counts under
case No. CR14-701. Count I charged him with stalking, sec-
ond offense, in violation of Neb. Rev. Stat. §§ 28-311.03 and
28-311.04(2)(a) (Reissue 2008), a Class IV felony. Count II
charged him with terroristic threats, in violation of Neb. Rev.
Stat. § 28-311.01(1)(a) (Reissue 2008), a Class IV felony.
Count III, habitual criminal, described that Haynes has twice
been convicted of a crime, sentenced, and committed to prison
for terms of not less than 1 year each and, thus, “is a Habitual
Criminal as described in Neb. Rev. Stat. §29-2221.”
   At the same time, under case No. CR14-1202, Haynes
was charged with two counts. Under count I, he was charged
with tampering with a witness, in violation of Neb. Rev. Stat.
§ 28-919(1) (Reissue 2008), a Class IV felony. Count II, habit-
ual criminal, described that Haynes has twice been convicted
of a crime, sentenced, and committed to prison for terms of
not less than 1 year each and, thus, “is a Habitual Criminal as
described in Neb. Rev. Stat. §29-2221.”
   Under other case numbers, Haynes was charged with pos-
session of a controlled substance, witness tampering, and iden-
tity theft.
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           Nebraska Supreme Court A dvance Sheets
                   299 Nebraska R eports
                        STATE v. HAYNES
                        Cite as 299 Neb. 249
                             2. Pleas
   Haynes entered into a plea agreement with the State. In case
No. CR14-701, Haynes pled no contest to the charges of count
I, stalking, second offense, and count II, terroristic threats. In
case No. CR14-1202, Haynes pled no contest to count I, tam-
pering with a witness.
   The pleas were negotiated in exchange for dismissal of the
other charges, under different case numbers, of possession of
a controlled substance, witness tampering, and identity theft.
The State also agreed not to file any further charges based
on Haynes’ conduct up to the date of the pleas. The State had
apparently been preparing to charge Haynes with 16 additional
misdemeanor counts.
   The day Haynes pled to the charges, the State entered into
evidence a psychiatric report demonstrating that Haynes was
competent and the court specifically found Haynes competent
to stand trial.
   The court considered cases Nos. CR14-701 and CR14-1202
together during the plea colloquy, as well as during the enhance-
ment and sentencing hearing.
   During the plea colloquy, the court confirmed with Haynes
that he understood the nature of the charges, the terms of the
plea agreement, the sentencing range for the crimes, and the
possible habitual criminal enhancement. The court explained
that the charges of terroristic threats and tampering with a wit-
ness were subject to habitual criminal enhancement, while the
charge of stalking, second offense, was not.
   Haynes affirmed that his pleas were freely and voluntarily
made. Haynes stated that he had been given enough time to
discuss the case with his counsel and that he was satisfied with
their representation.
   As a factual basis for the pleas, the State provided that it
would have adduced evidence that on or about January 22
through February 12, 2014, Haynes harassed and threatened
the victim, his ex-girlfriend, after she broke off their relation-
ship and moved in with her mother. Haynes continued to call,
drive by the victim’s house, and send text messages, even after
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           Nebraska Supreme Court A dvance Sheets
                   299 Nebraska R eports
                        STATE v. HAYNES
                        Cite as 299 Neb. 249
a protection order was in place. Some messages were sent to
the victim’s mother, advising her to keep the victim away from
the “back windows,” because “he attempted to get his boys to
chill,” but “the call was already made.” On one occasion, the
victim and her mother witnessed Haynes drive by and point
his fingers out the window as if they were a gun. On another
occasion, the victim and her mother witnessed Haynes drive by
and yell, “[H]ey bitch, I’m coming back. This house is going
to get shot up tonight.” During the same time period, Haynes
filled out change of address forms for the victim without her
consent, pretended to be the victim in order to have her cable
turned off, and sent “jitney cabs” to the victim’s house during
all hours of the night.
    After being jailed on the charges, Haynes made approxi-
mately 44 calls to the victim, using another inmate’s telephone
number. During the conversations, Haynes asked the victim not
to go to court. Haynes also sent letters through other inmates
to contacts on the outside, asking them to tell the victim to stop
talking to law enforcement and prosecutors.
    The court found that Haynes’ pleas of no contest were
entered freely, knowingly, intelligently, and voluntarily. Haynes
was adjudged guilty of the charges of stalking, terroristic
threats, and tampering with a witness.
                          3. Sentencing
   For purposes of habitual criminal enhancement, the State
entered into evidence prior convictions, and the court found
the prior convictions valid and supporting enhancement. The
presentence investigation report (PSI) indicated an extensive
criminal history, including convictions for assault, terroristic
threats, stalking, harassment by telephone, intimidation by tele-
phone, and violations of protection orders. The victims were
past girlfriends and an ex-wife. The PSI reflects that Haynes
has been arrested 23 times for crimes of domestic violence and
has had 16 protection orders filed against him by 14 different
people in the last 18 years. Attached to the PSI were several
victim impact statements related to prior convictions.
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               Nebraska Supreme Court A dvance Sheets
                       299 Nebraska R eports
                             STATE v. HAYNES
                             Cite as 299 Neb. 249
   Defense counsel asked the court to order a new PSI on
the grounds that the officer who prepared the PSI was biased
against Haynes. Counsel explained that the investigator had
been Haynes’ probation officer in 1999 and had prepared a
PSI in another case in 2009. Counsel suggested that someone
else would be able to “give a more independent evaluation.”
The court denied the motion, noting that although the report
demonstrated familiarity with Haynes, it was mostly a factual
recitation of past and present charges.
   The State argued at the sentencing hearing that the court
should consider Haynes’ past convictions and the domestic
abuse and stalking of former girlfriends and his ex-wife.
   The district court observed that Haynes had an extensive
criminal history and was “one of the worst” domestic vio-
lence offenders the court had ever seen. The court stated that
it had reached this conclusion based on the factual statements
in the PSI and the victim statements, not on any commentary
in the PSI reflecting the investigator’s personal familiarity
with Haynes.
   In case No. CR14-701, the court sentenced Haynes to con-
current sentences of 12 to 24 years’ imprisonment, with 289
days’ credit for time served. In case No. CR14-1202, the court
sentenced Haynes to 12 to 24 years’ imprisonment, to be
served consecutively to the sentences in case No. CR14-701.
                         4. Direct A ppeal
   Haynes filed a direct appeal, represented by the same defense
counsel as at the trial stage. He asserted on appeal that the sen-
tences were excessive.
   The Nebraska Court of Appeals, in a memorandum opin-
ion, found that the sentences were not excessive.1 However,
it vacated and remanded that portion of the sentence in case
No. CR14-701 that imposed habitual criminal enhancement
on the charge of stalking, second offense. The court noted

 1	
      State v. Haynes, Nos. A-14-1082, A-14-1083, 2015 WL 4626756 (Neb.
      App. Aug. 4, 2015) (selected for posting to court website).
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            Nebraska Supreme Court A dvance Sheets
                    299 Nebraska R eports
                        STATE v. HAYNES
                        Cite as 299 Neb. 249
that because the sentences were concurrent, the error was for
all practical purposes harmless, but nevertheless needed to
be corrected.2
              5. Motion for Postconviction R elief
   Thereafter, Haynes, representing himself pro se, filed a
motion for postconviction relief. Haynes asserted 12 acts of
ineffective assistance of counsel. He generally alleged that but
for these acts of ineffective assistance of counsel, he would
have insisted on going to trial.
   First, Haynes alleged that counsel was deficient for failing
to discuss, apprise, or review “any of the discovery turned
over by the state.” Second, Haynes alleged counsel failed to
investigate, interview, or depose other “witnesses,” who would
have testified that his relationship with the victim was “whole-
some” and “not the negative transgression or aggression the
state and police officials deploy.” Third, Haynes alleged that
counsel should have driven by the victim’s residence to obtain
more “detailing descriptive streets.” Fourth, Haynes alleged
that counsel was deficient in failing to locate, interview, or
depose the victim, who would have given “a very different ver-
sion of events that [sic] what the state produced” and “would
have testified that the charges lodged against [Haynes] were
unfounded, and concocted by her mother.”
   Fifth, Haynes alleged that there were several questions that
he asked counsel, which he listed, to “formulate a defense” in
Haynes’ favor. Sixth, Haynes alleged that counsel was ineffec-
tive by “failing to apprise [Haynes] of the nature of the charges
lodged against him; the consequences of the charges [Haynes]
was said to had [sic] committed; and a reasonable explana-
tion as to whether or not he should proceed to trial on those
charges.” Seventh, Haynes asserted that counsel should have
challenged law enforcement’s warrantless seizure of his outgo-
ing mail while in jail and use of that mail to contact recipients
and discourage their continued communication with him.

 2	
      Id.
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           Nebraska Supreme Court A dvance Sheets
                   299 Nebraska R eports
                        STATE v. HAYNES
                        Cite as 299 Neb. 249
   Eighth, Haynes alleged that 7 months of “solitary confine-
ment,” and its restrictions, particularly telephone restrictions,
limited his ability to contact counsel and thereby “impeded
[Haynes’] participation in his case,” allegedly denying him
due process. The restrictions also limited his access to outside
sources who could have allegedly helped him “prepare and
help counsel’s [sic] with a propper [sic] defense” and ren-
dered it “impossible for [Haynes] to obtain information that
would have undermined the states [sic] case via the charges.”
He asserted that counsel was ineffective for failing to chal-
lenge these restrictions. Haynes also generally asserted that the
restrictive confinement rendered his plea involuntary.
   Ninth, Haynes alleged under the heading “Failure to
Investigate and Prepare Defense” that the county attorney
met with the victim before charges were filed. Tenth, Haynes
asserted that counsel was deficient in failing to assert on direct
appeal that the presentence investigator was biased against
him. Eleventh, Haynes asserted that counsel should have raised
on appeal the allegation that his plea was not supported by an
adequate factual basis.
   Twelfth, Haynes alleged counsel was ineffective for fail-
ing to raise as error on direct appeal the habitual criminal
count in case No. CR14-701. Haynes theorized, without cita-
tion to any relevant authority, that all charges under the same
information must be subject to habitual criminal enhancement
in order for the habitual criminal statute to legally apply to
the case.
   Haynes also made several allegations of “plain error” that
did not appear to relate to an ineffective assistance of coun-
sel claim.
   The allegations of Haynes’ motion will be set forth in further
detail in our opinion.
                  6. District Court Order
   The district court denied the motion for postconviction
relief without an evidentiary hearing or the appointment
of counsel.
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                Nebraska Supreme Court A dvance Sheets
                        299 Nebraska R eports
                               STATE v. HAYNES
                               Cite as 299 Neb. 249
   With respect to the claims of ineffective assistance of coun-
sel, the court stated that Haynes had failed to set forth specific
facts relating to prejudice and only generically offered the
self-serving declaration that but for the deficient performance,
he would have insisted on going to trial.
   The court elaborated that on all claims relating to a failure
to investigate, Haynes did “not state what additional evidence
would have been gathered, or how a different result would
have been obtained.” The court stated that this was reason
alone to deny the motion without an evidentiary hearing on
the allegations.
   Alternatively to the lack of specificity regarding prejudice,
the court reasoned, regarding the telephone restrictions dur-
ing administrative confinement, that Haynes failed to set forth
how defense counsel could have challenged a decision by the
Department of Correctional Services. The court noted that
counsel is not ineffective for failing to bring a motion that
does not have merit.3 Regarding the claim that counsel failed
to inform Haynes of the nature of the charges, the court alter-
natively reasoned that the plea colloquy refuted such a claim.4
   As for the allegations of prosecutorial misconduct and the
presentence investigator’s conflict of interest, the court con-
cluded Haynes had “failed to set forth any facts or law estab-
lishing inclusion of such issues would have ‘changed the result
of the appeal.’”5
   With regard to any claim of “plain error,” separate from
Haynes’ ineffective assistance of counsel claims, the court
relied on our statement in State v. Sepulveda 6 that plain error
cannot be asserted in a postconviction proceeding to raise
claims of error by the trial court.
   Haynes appeals.

 3	
      See State v. McLeod, 274 Neb. 566, 741 N.W.2d 664 (2007).
 4	
      See, State v. Dragon, 287 Neb. 519, 843 N.W.2d 618 (2014); State v. Vo,
      279 Neb. 964, 783 N.W.2d 416 (2010).
 5	
      See State v. Jim, 278 Neb. 238, 768 N.W.2d 464 (2009).
 6	
      State v. Sepulveda, 278 Neb. 972, 775 N.W.2d 40 (2009).
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               Nebraska Supreme Court A dvance Sheets
                       299 Nebraska R eports
                              STATE v. HAYNES
                              Cite as 299 Neb. 249
                III. ASSIGNMENTS OF ERROR
   Largely verbatim, Haynes asserts that (1) his claims of inef-
fective assistance of counsel are “meritable,” warranting the
need of an evidentiary hearing to show cause; (2) the grounds
and claims submitted for postconviction relief exhibit “color-
able claims” worthy of the relief sought; (3) the district court
erred in denying Haynes’ motion for postconviction relief; (4)
the district court erred in denying Haynes’ motion to appoint
counsel; (5) the district court erred in allowing the State to
use false and highly prejudicial claims that Haynes sexually
assaulted women in the past; (6) the district court erred when
overruling Haynes’ request to remove the presentence investi-
gator due to bias; and (7) the district court erred in allowing the
State to place Haynes in “[s]olitary [c]onfinement” during the
pretrial stages, prohibiting him from contacting his attorneys
by telephone.

                 IV. STANDARD OF REVIEW
   [1] Whether a claim raised in a postconviction proceeding
is procedurally barred is a question of law which is reviewed
independently of the lower court’s ruling.7
   [2,3] A trial court’s ruling that the petitioner’s allegations
are refuted by the record or are too conclusory to demonstrate
a violation of the petitioner’s constitutional rights is not a
finding of fact—it is a determination, as a matter of law, that
the petitioner has failed to state a claim for postconviction
relief.8 Thus, in appeals from postconviction proceedings,
an appellate court reviews de novo a determination that the
defendant failed to allege sufficient facts to demonstrate a
violation of his or her constitutional rights or that the record
and files affirmatively show that the defendant is entitled to
no relief.9

 7	
      State v. Harris, 267 Neb. 771, 677 N.W.2d 147 (2004).
 8	
      State v. Determan, 292 Neb. 557, 873 N.W.2d 390 (2016).
 9	
      Id.                                      - 260 -
                Nebraska Supreme Court A dvance Sheets
                        299 Nebraska R eports
                                STATE v. HAYNES
                                Cite as 299 Neb. 249
  [4] We review the failure of the district court to provide
court-appointed counsel in a postconviction proceeding for an
abuse of discretion.10

                          V. ANALYSIS
   Haynes appeals from the denial of postconviction relief
without an evidentiary hearing or the appointment of counsel.
He sought to set aside his convictions, which were entered
pursuant to pleas of no contest. He also alleged errors in sen-
tencing. The district court concluded that Haynes had failed to
allege sufficient facts that, even if proved true at an evidentiary
hearing, would render his judgment void or voidable. As to
certain allegations, the court also found them to be affirma-
tively refuted by the record.
   [5,6] Postconviction relief is a very narrow category of
relief, available only to remedy prejudicial constitutional viola-
tions that render the judgment void or voidable.11 The Nebraska
Postconviction Act is intended to provide relief in those cases
where a miscarriage of justice may have occurred; it is not
intended to be a procedure to secure a routine review for any
defendant dissatisfied with his or her sentence.12
   [7,8] The Nebraska Postconviction Act likewise does not
provide a procedure whereby the defendant can avoid the
waiver inherent to a voluntary entry of a guilty plea or plea of
no contest. The voluntary entry of a guilty plea or a plea of no
contest waives every defense to a charge, whether the defense
is procedural, statutory, or constitutional.13 “The only excep-
tions are for the defenses of insufficiency of the indictment,

10	
      See State v. Rehbein, 235 Neb. 536, 455 N.W.2d 821 (1990).
11	
      See, State v. Barnes, 272 Neb. 749, 724 N.W.2d 807 (2006); State v. Lytle,
      224 Neb. 486, 398 N.W.2d 705 (1987); Neb. Rev. Stat. § 29-3001 (Reissue
      2016).
12	
      See State v. Robertson, 294 Neb. 29, 881 N.W.2d 864 (2016).
13	
      State v. Trackwell, 250 Neb. 46, 547 N.W.2d 471 (1996); State v.
      Dreimanis, 8 Neb. App. 362, 593 N.W.2d 750 (1999).
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                                STATE v. HAYNES
                                Cite as 299 Neb. 249
information, or complaint; ineffective assistance of counsel;
and lack of jurisdiction.”14
   [9] On appeal from the denial of postconviction relief with-
out an evidentiary hearing, the question is not whether the
movant was entitled to relief by having made the requisite
showing.15 Instead, we must determine whether the allega-
tions were sufficient to grant an evidentiary hearing.16 Section
29-3001(2) states:
      Unless the motion and the files and records of the case
      show to the satisfaction of the court that the prisoner is
      entitled to no relief, the court shall . . . grant a prompt
      hearing thereon, and determine the issues and make
      findings of fact and conclusions of law with respect
      thereto.
   [10-12] But the allegations in the motion for postconviction
relief must be sufficiently specific for the district court to make
such a preliminary determination as to whether an evidentiary
hearing is justified.17 In a proceeding under the Nebraska
Postconviction Act, the application is required to allege facts
which, if proved, constitute a violation or infringement of
constitutional rights, and the pleading of mere conclusions of
fact or of law are not sufficient to require the court to grant an
evidentiary hearing.18 An evidentiary hearing must be granted
when the facts alleged, if proved, would justify relief, or when
a factual dispute arises as to whether a constitutional right
is being denied.19 In the absence of alleged facts that would
render the judgment void or voidable, the proper course is to

14	
      State v. Start, 239 Neb. 571, 574, 477 N.W.2d 20, 22-23 (1991). See, also,
      State v. Russell, 239 Neb. 979, 479 N.W.2d 798 (1992); State v. Wiemer, 3
      Neb. App. 821, 533 N.W.2d 122 (1995).
15	
      See State v. Yos-Chiguil, 281 Neb. 618, 798 N.W.2d 832 (2011).
16	
      See id.17	
      See State v. Lytle, supra note 11.
18	
      State v. Turner, 194 Neb. 252, 231 N.W.2d 345 (1975).
19	
      See State v. Silvers, 255 Neb. 702, 587 N.W.2d 325 (1998).
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                Nebraska Supreme Court A dvance Sheets
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                              STATE v. HAYNES
                              Cite as 299 Neb. 249
dismiss the motion for postconviction relief for failure to state
a claim.20
   [13] With these principles in mind, we turn to Haynes’ argu-
ments on appeal. We consider only those arguments that were
both adequately assigned and argued in his appellate brief.
This court will not consider an issue on appeal that was not
presented to or passed upon by the trial court.21
              1. A lleged Ineffective Assistance of
                    Counsel Leading to Pleas
                          of No Contest
   Haynes principally asserts ineffective assistance of counsel.
He argues that but for these acts of ineffective assistance of
counsel, there was a “great probability,” sufficient to under-
mine confidence in the outcome, that Haynes would have
insisted on going to trial.22 Because Haynes was represented
both at trial and on direct appeal by the same lawyer or law-
yers from the same office, this motion for postconviction
relief is his first opportunity to assert ineffective assistance
of counsel.
   [14] In order to establish a right to postconviction relief
based on a claim of ineffective assistance of counsel, the
defendant has the burden first to show that counsel’s per-
formance was deficient; that is, counsel’s performance did
not equal that of a lawyer with ordinary training and skill in
criminal law in the area.23 Next, the defendant must show that
counsel’s deficient performance prejudiced the defense in his
or her case. The two prongs of this test, deficient performance
and prejudice, may be addressed in either order.24
   [15,16] In a plea context, deficiency depends on whether
counsel’s advice was within the range of competence demanded

20	
      See State v. Ryan, 287 Neb. 938, 845 N.W.2d 287 (2014).
21	
      Walters v. Sporer, 298 Neb. 536, 905 N.W.2d 70 (2017).
22	
      Brief for appellant at 14.
23	
      State v. McLeod, supra note 3.
24	
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of attorneys in criminal cases.25 The prejudice requirement in
a plea context is satisfied if the defendant shows a “reasonable
probability” that but for the errors of counsel, the defend­
ant would have insisted on going to trial rather than plead-
ing guilty.26
   [17] The likelihood of the defense’s success had Haynes
insisted on going to trial is relevant to this prejudice analy-
sis.27 It is relevant to the consideration of whether “‘a rational
defendant [would have] insist[ed] on going to trial.’”28 The
likelihood of the defense’s success had the defendant gone to
trial should be considered along with other factors, such as the
likely penalties the defendant would have faced if convicted at
trial, the relative benefit of the plea bargain, and the strength
of the State’s case.29
   [18] At an evidentiary hearing, “[s]elf-serving declarations
that [the claimant] would have gone to trial will not be enough;
he must present objective evidence showing a reasonable prob-
ability that he would have insisted on going to trial.”30 Neither
will such self-serving declarations be sufficient on their own to
state a claim requiring an evidentiary hearing.31
   [19] The district court was correct that a motion for post-
conviction relief seeking to set aside a conviction pursuant
to a plea on the grounds that it was the result of ineffective

25	
      See State v. Zarate, 264 Neb. 690, 651 N.W.2d 215 (2002).
26	
      State v. Lee, 290 Neb. 601, 602, 861 N.W.2d 393, 395 (2015). See, also,
      e.g., State v. Armendariz, 289 Neb. 896, 857 N.W.2d 775 (2015); State v.
      Yos-Chiguil, supra note 15; State v. Glover, 278 Neb. 795, 774 N.W.2d
      248 (2009); State v. McLeod, supra note 3; State v. Barnes, supra note 11;
      State v. Deckard, 272 Neb. 410, 722 N.W.2d 55 (2006); State v. Silvers,
      supra note 19.
27	
      See State v. Yos-Chiguil, supra note 15.
28	
      Id. at 631, 798 N.W.2d at 844, quoting Roe v. Flores-Ortega, 528 U.S.
      470, 120 S. Ct. 1029, 145 L. Ed. 2d 985 (2000).
29	
      See State v. Yos-Chiguil, supra note 15.
30	
      Id. at 632, 798 N.W.2d at 844.
31	
      See State v. Barrera-Garrido, 296 Neb. 647, 895 N.W.2d 661 (2017).
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assistance of counsel must allege objective facts that raise a
question of whether a rational defendant would have insisted
on going to trial. And we agree with the district court that
most of Haynes’ claims failed to allege facts raising a ques-
tion of whether a rational defendant would have insisted on
going to trial. Other allegations are affirmatively refuted by
the trial record. None of the allegations warranted an eviden-
tiary hearing.
   We address each of the allegations in turn.
                  (a) Meeting Between Victim
                      and County Attorney
   Haynes first argues that counsel was ineffective for failing
to challenge the county attorney’s meeting with the victim
before charges were filed. In his motion for postconvic-
tion relief, Haynes alleged under the heading “Failure to
Investigate and Prepare Defense” that the county attorney met
with the victim before charges were filed. He asserted this
violated due process, because it gave the county attorney first-
hand information and gave the county attorney time to “plant
fear” in the victim.
   Haynes did not make factual allegations as to how this
“fear” affected the truthfulness of the victim’s account to law
enforcement or how it otherwise impacted his defense. In
other words, Haynes failed to allege facts raising a dispute as
to whether a rational defendant would have insisted on going
to trial.
   Haynes’ attempt to focus on counsel’s failure to raise this
issue on direct appeal does not change our analysis. As stated,
in an appeal seeking to reverse a conviction pursuant to a plea
of no contest, the appellate court will consider only claims
of insufficiency of the indictment, information, or complaint;
ineffective assistance of counsel; and lack of jurisdiction.32
Haynes’ motion failed to raise the prospect that had the

32	
      State v. Start, supra note 14. See, also, State v. Russell, supra note 14;
      State v. Wiemer, supra note 14.
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purported due process issue been raised on direct appeal, it
would have changed the result.33 But, in fact, Haynes’ allega-
tion amounts simply to an allegation of ineffective assistance
of counsel at trial, because trial counsel representing the
defendant on appeal cannot be expected to raise his or her
own ineffectiveness in failing to present an issue at trial.34
And Haynes’ counsel did not bring this alleged due process
issue to the attention of the district court before Haynes
entered his plea.

                      (b) Failure to Discuss
                         State’s Discovery
   Haynes next asserts on appeal that counsel “failed to dis-
cuss, apprise, or review any of the discovery turned over by
the [S]tate”35 and that had counsel done so, counsel would have
known the police reports were filed by the victim’s mother.
   Haynes did not assert in his motion for postconviction
relief, however, that counsel would have discovered that the
police reports were filed by the victim’s mother. We note that
Haynes fails to explain how the fact that the victim’s mother
filed the police reports would have undermined the State’s
case against Haynes and thereby created a reasonable prob-
ability that he would have insisted on going to trial. But,
regardless, we will not consider arguments made for the first
time on appeal.36
   Haynes’ assertion in his motion that counsel failed to discuss
with him “any of the discovery” turned over by the State was
insufficiently specific. Without an allegation as to what the
State’s discovery evidence was, Haynes failed to allege suf-
ficient facts pertaining to whether a rational defendant would
have insisted on going to trial.

33	
      See State v. Jim, supra note 5.
34	
      See, e.g., State v. Payne, 289 Neb. 467, 855 N.W.2d 783 (2014).
35	
      Brief for appellant at 13.
36	
      See State v. Thomas, 262 Neb. 138, 629 N.W.2d 503 (2001).
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                    (c) Questions Presented to
                         Defense Counsel
   Next, Haynes states in his brief that there were “many ques-
tions asked to counsel.”37 He lists these questions as including:
(1) “Why are all of the imposed restrictions being placed on
me given the fact that the alleged victim refuses to help pros-
ecution?” (2) “Why is the Habitual Criminal tag being sought
agains [sic] me even with my charges being the low end class
4 felonies?” (3) With no physical voilence [sic] associated
with this case why is the County Attorney not allowing the
alleged victim and myself communicate [sic] for the well
being of our young daughter?” and (4) “What are my chance
[sic] if I proceed to trial given the fact that the alleged victim
has shown no interest in helping build a case?”38
   This list of questions asked is less an argument than a
statement of purported historical fact. The fact that this list
was presented somewhere under the heading of “Failure to
Investigate and Prepare Defense” does not make it an argu-
ment. We find this an insufficient argument for this court to be
able to address it.39
   However, we note that this same insufficiency clearly sup-
ported the district court’s conclusion that Haynes had failed
to state a claim warranting an evidentiary hearing.

               (d) Administrative Confinement
                      and Outgoing Mail
   Haynes asserts that counsel was ineffective for failing to
challenge his administrative confinement. He focuses pri-
marily on restrictions on his ability to make telephone calls.
Haynes argues that he was prejudiced by telephone restric-
tions, because they impeded his ability to call counsel and
prevented him from calling unidentified persons who might

37	
      Brief for appellant at 13.
38	
      Id.
39	
      See State v. Wagner, 295 Neb. 132, 888 N.W.2d 357 (2016).
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have helped him procure evidence of an alibi. This alibi evi-
dence supposedly would have entailed train tickets and time-
cards for his job, demonstrating that he was working or out of
town “during times that several Police reports were filed.”40
   Somewhat relatedly, Haynes asserts that counsel should have
challenged law enforcement officers’ warrantless confiscation
of his outgoing mail while in jail and their contact with the
recipients, encouraging them not to have further contact with
Haynes. Again, Haynes believes this hindered his ability to
procure evidence for his defense.
   As the district court noted, Haynes failed to assert by what
motion or action his counsel could have challenged such a
decision of the Department of Correctional Services. While
Haynes seems to classify these acts as prosecutorial miscon-
duct, he fails to cite to any authority for that characterization.
   [20] Haynes likewise failed to raise sufficiently specific
facts demonstrating that a reasonable person would have
insisted on going to trial, had counsel successfully challenged
his administrative confinement. As with other assertions of
ineffective assistance of counsel, Haynes has attempted to
add more specific factual allegations for the first time in his
appellate brief. When considering whether the district court
correctly denied the motion without an evidentiary hear-
ing, we will not consider factual allegations made for the
first time on appeal.41 Haynes did not allege in his motion
that train tickets and timecards would have presented an
alibi. Rather, he generically alleged that he was hindered in
his defense.
   In any event, Haynes failed to raise a question of prejudice
from his telephone restrictions or law enforcement’s discourag-
ing mail recipients from further contact with Haynes, because
he did not allege that counsel was unable to contact him, that
he was unable to contact counsel through other means, or that

40	
      Brief for appellant at 15.
41	
      See Walters v. Sporer, supra note 21.
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counsel was unable to conduct an adequate discovery without
Haynes’ direct communication with these unidentified outside
sources. Finally, whatever train tickets and timecards could
have been procured, Haynes does not assert that these would
have demonstrated he was nowhere in the vicinity of the
crimes at any point from January 22 to February 12, 2014, as
alleged in the information.
   In other words, the allegations relating to counsel’s failure to
challenge administrative confinement, confiscation of his mail,
and contact with mail recipients, failed to sufficiently raise a
triable issue warranting an evidentiary hearing.
   Haynes seems to generally argue that counsel failed to
protect his mental health, noting that “[t]hose surroundings
with no outside communication can cause serious issues men­
tally.”42 But Haynes does not assert that he actually suffered
from such serious mental issues. He merely broadly states that
“[t]he plea . . . was not done knowingly, willingly, or volun-
tarily, due to the restrictions placed on [Haynes], along with
[Haynes’] being placed in solitary confinement for over seven
months . . . .”43
   [21,22] Even if we generously read these arguments as
asserting that Haynes was incompetent—and that counsel was
ineffective for failing to seek a competency hearing or moving
to withdraw Haynes’ plea—Haynes’ motion failed to allege
facts that would have raised doubts as to his competency. A
person is competent to plead or stand trial if he or she has the
capacity to understand the nature and object of the proceed-
ings against him or her, to comprehend his or her own condi-
tion in reference to such proceedings, and to make a rational
defense.44 The test of mental capacity to plead is the same as
that required to stand trial.45

42	
      Brief for appellant at 6.
43	
      Id. at 14.
44	
      State v. Vo, supra note 4.
45	
      Id.
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   Haynes’ allegations, even if true, would not establish a
“threshold level of doubt”46 concerning his competency that
would make counsel’s inaction deficient. Haynes failed to
allege what facts would have brought to counsel’s attention an
incapacity to understand the nature and object of the proceed-
ings against him, to comprehend his own condition in reference
to such proceedings, and to make a rational defense.47 Haynes’
allegation that he was in “solitary confinement,” standing
alone, is not a fact that would cause a criminal lawyer with
ordinary training and skill in the area to question a defend­
ant’s competency.
   Finally, the record refutes any allegation that Haynes was
incompetent. A medical evaluation established Haynes’ com-
petency, and the district court specifically found Haynes com-
petent before hearing his plea. Haynes’ responses to questions
from the court during the plea colloquy were appropriate and
reflected his knowledge that he was appearing in court for the
purpose of entering a no contest plea and that he understood
the consequences of such action as they were explained to him
by the judge.
   The district court was correct in denying an evidentiary
hearing on the claims relating to his administrative confine-
ment and confiscation of his outgoing mail while in jail.
            (e) Failure to Visit Apartment Complex
   Haynes asserts that counsel was somehow ineffective for
failing to visit the apartment complex where he, the victim,
and the victim’s mother all allegedly lived. He asserts that
counsel should have been able to detail the “descriptive streets
or locate where [Haynes] was said to venture driving by [the
victim’s] home.”48 These allegations do not bring into question
either counsel’s deficiency or any possible prejudice.

46	
      State v. Griffin, 20 Neb. App. 348, 355, 823 N.W.2d 471, 477 (2012).
47	
      See, State v. Vo, supra note 4; State v. Johnson, 4 Neb. App. 776, 551
      N.W.2d 742 (1996).
48	
      Brief for appellant at 13.
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                       (f) Failure to Interview
                         Character Witnesses
   Haynes argues that counsel failed to interview “witnesses”
he informed counsel of, who would have stated that he was
the sole provider for the household and that “ill feelings” of
the victim’s mother “caused these issues to happen.”49 His
allegations in the motion for postconviction relief stated some-
what similarly that “witnesses” would have said Haynes and
the victim had “a relationship in which [Haynes] was the sole
provider for the household in wholesome relations and not the
negative transgression or aggression the state and police offi-
cials deploy.”
   [23] We require a significant degree of specificity in post-
conviction motions for claims relating to potential witnesses.50
And, because this case involves a plea, any claim based on
potential witnesses is all the more hypothetical and subject to
scrutiny. We have explained:
       “The plea process brings to the criminal justice system
       a stability and a certainty that must not be undermined
       by the prospect of collateral challenges in cases not only
       where witnesses and evidence have disappeared, but also
       in cases where witnesses and evidence were not presented
       in the first place.”51
   Haynes did not provide the names or descriptions of the
uncalled witnesses. Haynes describes the general nature of the
testimony the witnesses would have provided, but this poten-
tial testimony generally vouching for the wholesome and non-
aggressive nature of Haynes’ relationship with the victim only
marginally impacts the likelihood of the defense’s success had
Haynes insisted on going to trial.

49	
      Id. at 12.
50	
      See, State v. Mora, 298 Neb. 185, 903 N.W.2d 244 (2017); State v.
      Abdullah, 289 Neb. 123, 853 N.W.2d 858 (2014).
51	
      State v. Yos-Chiguil, supra note 15, 281 Neb. at 634, 798 N.W.2d at 845
      (Heavican, C.J., concurring), quoting Premo v. Moore, 562 U.S. 115, 131
      S. Ct. 733, 178 L. Ed. 2d 649 (2011).
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   More to the point, Haynes apparently discussed these poten-
tial witnesses with counsel and was able to consider with
counsel the hypothetical effect of their potential testimony
before deciding to plead. Thus, counsel determined as a matter
of strategy that it was unnecessary to depose these witnesses to
confirm Haynes’ assertion as to what they would say regard-
ing their perception of Haynes’ relationship with the victim.
The allegation in the motion that counsel had not “call[ed],
locate[d] and acquire[d] witnesses,” before Haynes decided to
accept the State’s plea bargain offer, fails to call into question
whether a reasonable person would have instead insisted on
going to trial.
                     (g) Failure to Interview
                       and Depose Victim
   Lastly, Haynes asserts that had counsel interviewed and
deposed the victim, she would have said the allegations were
“unfounded” and revealed that her mother made all the police
reports. In the motion for postconviction relief, Haynes simi-
larly alleged that counsel was ineffective for failing to “locate,
interview or depose the said victim” and that “[h]ad she been
located, interviewed, or deposed, she would have testified
that the charges lodged against [Haynes] were unfounded, and
concocted by her mother . . . [w]hich all led to . . . a coerced
and minipulated [sic] plea . . . at the ill advice and ineffective
representation of counsel’s.” Haynes concluded that but for
defense counsel’s ineffectiveness, there was a “great probabil-
ity” and a “high probability,” “sufficient to undermine confi-
dence in the outcome,” that Haynes would not have pled and
would have gone to trial.
   [24] Haynes had moved, pro se, to depose the victim. But at
the hearing to accept his plea, Haynes affirmed to the court that
he wished to withdraw his motion to depose the victim. The
record is as follows:
         [Defense counsel]: . . . At this time we move to with-
      draw the Notice and Motion to Take Deposition that
      was filed by my client on August 4th. We’ve had an
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      opportunity to talk to my client. It was a pro se motion,
      and he understands what is going on here and shares in
      our wish to withdraw that motion.
         THE COURT: Is that correct . . . ?
         [Haynes]: Yes, ma’am.
A defendant representing himself or herself pro se cannot
thereafter assert his or her own incompetency.52 Though he had
counsel, Haynes acted pro se in moving to depose the victim
and in withdrawing that motion. Haynes spoke for himself at
the hearing. He cannot now claim in his motion for postcon-
viction relief that his decision not to depose the victim was
in error.

                       2. Sentencing
   We turn now to several arguments Haynes makes concern-
ing his sentencing.

              (a) Habitual Criminal Enhancement
                  Must Apply to All or None
   First, Haynes asserts that counsel was ineffective for failing
to challenge habitual criminal enhancement on the grounds
that there can be no enhancement unless all the charges in
the information are amendable to habitual criminal enhance-
ment. He concludes that because, under case No. CR14-701,
the stalking charge was not amendable to habitual criminal
enhancement, neither was count II, terroristic threats. The
only law cited by Haynes in support of this conclusion is that
cited by the Court of Appeals in holding that second-offense
stalking could not be doubly enhanced through the habitual
criminal statute.
   There is simply no merit to Haynes’ legal assertion that
all charges in an information must be amendable to habitual
criminal enhancement in order for any charge to be subject to
enhancement under the habitual criminal statute. We therefore

52	
      See State v. Dunster, 278 Neb. 268, 769 N.W.2d 401 (2009).
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agree with the district court that this allegation fails to raise
any issue of deficient performance or prejudice.
                 (b) Void Sentence for “Crime” of
                      Being Habitual Criminal
   Haynes further argues, for the first time on appeal, that his
sentences were void, suffering the same infirmities as found in
Meyer v. Frakes.53 Because a void judgment can be attacked
at any time in any proceeding,54 we will address this argument
despite Haynes’ failure to raise it below.
   The habitual criminal statute states that “the facts with
reference thereto shall be charged in the indictment or infor-
mation which contains the charge of the felony upon which
the accused is prosecuted.”55 Thus, there is no error in setting
forth habitual criminal status as a count in the information. But
Haynes asserts that, as in Meyer v. Frakes,56 he was convicted
of the crime of being a habitual criminal and was separately
sentenced for such crime. In Meyer, we said that “a separate
sentence for the nonexistent crime of being a habitual crimi-
nal is void,” because “[t]here is no such offense as being a
habitual criminal.”57
   The record demonstrates that unlike the defendant in Meyer,
Haynes was not, in fact, convicted and sentenced of being a
habitual criminal. He did not plead no contest to being a habit-
ual criminal. The court did not convict him of being a habitual
criminal. And the court did not issue a separate sentence for
the “crime” of being a habitual criminal. Instead, as is proper,
the court enhanced Haynes’ sentences for the crimes of ter-
roristic threats and tampering with a witness. We find no merit
to Haynes’ argument that pursuant to Meyer, his sentences
were void.

53	
      Meyer v. Frakes, 294 Neb. 668, 884 N.W.2d 131 (2016).
54	
      Johnson v. Johnson, 282 Neb. 42, 803 N.W.2d 420 (2011).
55	
      Neb. Rev. Stat. § 29-2221(2) (Reissue 2016).
56	
      Meyer v. Frakes, supra note 53.
57	
      Id. at 673-74, 884 N.W.2d at 136-37.
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                (c) Prosecutorial Misconduct and
                Other Alleged Sentencing Errors
   Lastly, Haynes argues several points of alleged prosecuto-
rial misconduct or trial error during the sentencing hearing,
unattached to any claim of ineffective assistance of counsel
or any claim that his plea was involuntary. He presented these
below as “plain error.” The allegations relate to the court’s
consideration of his relationship with past girlfriends, alleg-
edly false letters from past girlfriends, allegedly false accusa-
tions by the State of past sexual assaults, and a letter written
from jail to an adult son. In sum, Haynes argues that the State
improperly presented and the court improperly considered
false “prior bad acts.” He also argues that a letter to his son
should not have been considered, because it had been seized
without a warrant.
   [25] As the district court correctly noted, plain error cannot
be asserted in a postconviction proceeding to raise claims of
error by the trial court.58 Haynes cannot avoid the strictures
of an ineffective assistance of counsel claim by reframing the
allegation as plain error. Consideration of plain error occurs
only at the discretion of an appellate court.59
   [26] The only allegation of ineffective assistance of coun-
sel raised in terms of sentencing is counsel’s failure to pur-
sue on appeal the objection to the PSI investigator’s alleged
bias. Counsel’s failure to raise an issue on appeal could be
ineffective assistance of counsel only if there is a reasonable
probability that inclusion of the issue would have changed the
result of the appeal.60 We agree with the district court that a
claim based on the alleged bias of the PSI investigator would
not have been successful on appeal. This is especially true
because the district court stated that it was not considering
any statement in the PSI report that could have derived from

58	
      State v. Sepulveda, supra note 6.
59	
      See id.60	
      State v. Sellers, 290 Neb. 18, 858 N.W.2d 577 (2015).
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the investigator’s prior contact with Haynes. Therefore, this
allegation, like the others, does not raise a claim warranting an
evidentiary hearing.
                    3. Appointment of Counsel
   Under the Nebraska Postconviction Act, it is within the
discretion of the trial court as to whether counsel shall be
appointed to represent the defendant.61 When the assigned
errors in a postconviction petition before the district court con-
tain no justiciable issues of law or fact, it is not an abuse of
discretion to fail to appoint counsel for an indigent defendant.62
Based upon our conclusion that Haynes’ postconviction motion
presented no justiciable issues for postconviction relief, we
conclude that the district court did not abuse its discretion in
denying his motion for appointment of counsel.
                       VI. CONCLUSION
  For the foregoing reasons, we affirm the order of the district
court denying Haynes’ motion for postconviction relief with-
out an evidentiary hearing or the appointment of counsel.
                                                   A ffirmed.
  K elch, J., participating on briefs.
  Wright and Miller-Lerman, JJ., not participating.

61	
      State v. McLeod, supra note 3.
62	
      Id.